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                  UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF COLUMBIA
____________________________
                             )
RICHARD MINITER,            )
              Plaintiff,     )
          v.                 )  Civil Action No. 1:09-cv-02330-RMU
                             )
SUN MYUNG MOON,              )
THE WASHINGTON TIMES,         )
et al.                        )
              Defendants     )
____________________________)

   PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL OF CERTAIN
                        DEFENDANTS

Plaintiff Richard Miniter, pursuant to Fed. R. Civ. P. 41(a), hereby voluntarily

dismisses without prejudice the following Defendants:

     Sun Myung Moon

     Preston Moon

     Unification Church International

     One Up Enterprises

     News World Communications, LLC of Delaware

     News World Communications, Inc.


                                      Respectfully submitted,
                                      ________/s/________________
                                      Larry Klayman, Esquire
                                      D.C. Bar No. 334581
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